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            IN THE UNITED STATES DISTRICT COURT FOR THE
                    SOUTHERN DISTRICT OF GEORGIA
                           STATESBORO DIVISION


SUSAN ELLINGTON,

     Plaintiff,

            V.                                     CV 617-072


Andrew Saul,^
Commissioner of Social
Security,

     Defendant.




                               ORDER




     Before the Court are Plaintiff Susan Ellington's motion for

attorney's fees and amended motion for attorney's fees.            (Docs.

20, 21.)     The first motion is denied as moot, and the amended

motion is granted for the following reasons.


     Following     this     Court's    reversal   and   remand    to   the

Commissioner (Docs. 15, 16), Plaintiff was awarded approximately

$111,766 in past-due benefits.        (See Docs. 21-2, 21-3.)    Plaintiff

now seeks attorney's fees in the amount of $21,941.50 under 42

U.S.C. § 406(b)(1).       She already sought and was awarded $8,526.58

in attorney's fees pursuant to the Equal Access to Justice Act

C'EAJA").    (See Docs. 18, 19.)       Plaintiff states that Defendant




^ Andrew Saul is the current commissioner of the Social Security
Administration
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does not oppose the motion, and the time for Defendant to respond

has passed.


     Section 406(b)(1) allows for a contingent fee award of up to

twenty-five percent of the total past-due benefits a litigant is

awarded from a judgment in his or her favor.        An attorney who has

already recovered fees     under the EAJA may also        recover      under

Section 406(b)(1) but must refund the lesser award to his or her

client.   See Gisbrecht v. Barnhart, 535 U.S. 789, 795 (2002); Brown

V. Astrue, No. CV 411-152, 2014 WL 4928880, at *1 (S.D. Ga. Sept.

30, 2014.) (citing Gisbrecht).      The fee must be reasonable.         See

42 U.S.C. § 406(b)(1)(A).


     Plaintiff s counsel spent approximately forty-three hours on

her case.     (See Doc. 21-6.)   Plaintiff and her attorney agreed to

a contingent fee of twenty-five percent of past-due benefits paid.

(See Doc. 21-4.)     Plaintiffs counsel requests $21,941.50, which

is less than twenty-five percent of Plaintiffs award.             Such an

award would result in an effective hourly rate of around $510.27.

Taking into account counsel's skill, time expended, and the risk

involved with contingent fee arrangements, the Court finds such a

rate reasonable.    See Moore v. Berryhill, No. CV 115-074, 2018 WL

703295, at *2 (S.D. Ga. Jan. 12, 2018) (report and recommendation

that effective hourly fee of $791.18 was reasonable), report and
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recommendation adopted by, No. CV 115-074, 2018 WL 702821 (S.D.

Ga, Feb 2, 2018).


        Upon the foregoing, Plaintiff's motion for attorney's fees

(Doc. 20) is DENIED AS MOOT, and Plaintiff's amended motion for

attorney's fees (Doc. 21) is GRANTED.          Plaintiff's counsel is

further ORDERED to refund the EAJA award of $8526.58 to Plaintiff.


     ORDER ENTERED at Augusta, Georgia this                  of October,

2020.




                                        J. RAl^L HALL/" CHIEF JUDGE
                                        UNITi:^STATES DISTRICT COURT
                                             [ERN   DISTRICT OF GEORGIA
